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                              IN THE UNITED STATES DISTRICT COURT

                              FOR THE NORTHERN DISTRICT OF TEXAS

                                            )
CONGHUA YAN,                                )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )                 Case No. [4-23CV-288-P]
                                            )
MARK H TAYLOR, in his official capacity     )
as Criminal District Office Investigator,   )
TARRANT COUNTY,                             )
and in his private capacity,                )
        Defendant,                          )
and                                         )
RICHARD B HARWELL, in his official capacity )
as Sergeant, TARRANT COUNTY,                )
and in his private capacity,                )
        Co-Defendant.                       )
and                                         )
DAVID F BENNETT, in his official capacity   )
as Sheriff, Deputy, TARRANT COUNTY,         )
and in his private capacity,                )
        Co-Defendant.                       )
—————————————————————)


                         MOTION FOR MISJOINDER OF PARTIES REMOVAL

                                          AND BRIEF IN SUPPORT

COMES NOW, the Plaintiff, Conghua Yan, and respectfully moves this Honorable Court for a Motion for
Misjoinder of Parties Removal and Brief In Support. The Plaintiff requests that this Honorable Court
consider and grant this Motion for Reconsideration and Brief In Support, pursuant to FRCP 21.

In support of this motion, the Plaintiff states as follows:

                                              I. INTRODUCTION

1. On March 22, 2023, the Plaintiff filed a complaint against two parties, Tarrant County Sheriff
Department, the defendant and Tarrant County District Attorney Office, the co-defendant. ECF No. 1,
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2. On March 31, 2023, Attorney Melvin Keith Ogle added to represent party Tarrant County District
Attorney Office and Tarrant County Sheriff Department, Mr. Ogle filed a motion to dismiss the Plaintiff.
ECF No. 8. Mr. Ogle argued that his clients are no-jural entities, misjoinders, therefore the complaint should
be dismissed against his clients.

3. On April 21, 2023, the Plaintiff filed a Motion to Strike defendants’ Motion to Dismiss. ECF No. 12.

4. On April 21, 2023, the Tarrant County Sheriff's Department, the defendant, and the Tarrant County
District Attorney's Office, the co-defendant, filed a Response to Plaintiff’s Motion to Strike Defendants’
Motion to Dismiss Motion to Dismiss against the Plaintiff, with a Proposed Order attached, both in pdf
format. ECF No. 15.

5. On May 5th, 2023, the Plaintiff filed a Reply to Response to Plaintiff’s Motion to Strike. ECF No. 16.

6. On May 8th, 2023, the Court denied the Plaintiff’s Motion to Strike defendants’ Motion to Dismiss. ECF
No. 18.

7. On May 8th, 2023, the Court ordered the Plaintiff to file an Amended Complaint. ECF No. 19.

8. On May 15th, 2023, the Court extended the deadline for the Plaintiff to file an Amended Complaint to
June 22nd, 2023. ECF No. 22.

9. On Jun 8thth, 2023, the Plaintiff filed FIRST AMENDED COMPLAINT in paper to the Court. In the first
amended complaint, the Plaintiff removed two misjoinders, Tarrant County District Attorney Office and
Tarrant County Sheriff Department. Furthermore, the Plaintiff added 3 new individual parties, MARK H
TAYLOR, RICHARD B HARWELL and DAVID F BENNETT. The Court clerk entered the paper pleading
into the ECF system. ECF No. 23.

10. On Jun 8thth, 2023, the Plaintiff filed FIRST AMENDED COMPLAINT into ECF, with indication that
(One or more defendant(s) is no longer named.). ECF No. 26.

11. On Jun 8thth, 2023, the Court ordered that Mr. Ogle’s Motion to Dismiss as moot. The Court order is
issued. ECF No. 32.

                                      II. FACTUAL BACKGROUND
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12. Mr. Ogle represents Tarrant County District Attorney Office and Tarrant County Sheriff Department as
of June 8th, 2023.

13. Mr. Ogle does not represent 3 individual new parties, MARK H TAYLOR, RICHARD B HARWELL
and DAVID F BENNETT as of June 8th, 2023.

14. FRCP Rule 21 says “Misjoinder of parties is not a ground for dismissing an action. On motion or on its
own, the court may at any time, on just terms, add or drop a party. The court may also sever any claim
against a party.” (Emphasis added).

                            III. Brief in Support of Motion for Reconsideration


15. 2 misjoinders were removed from the suit, after the plaintiff filed first amended complaint, as of Jun
8th,2023. Mr. Ogle has no standing in the court to represent 3 newly named individual parties.

16. 3 new individual parties have not entered the suit yet as of Jun 9 th, 2023, neither of them was represented
by Mr. Ogle or by any other attorney.

17. The plaintiff seeks a motion for misjoinder of parties removal to drop parties of both Tarrant County
District Attorney Office and Tarrant County Sheriff Department in this case, pursuant to FRCP 21.

                                             V. Prayer for Relief

18. Based on the foregoing, Plaintiff prays for the following relief:

       A.      Order to drop parties of both Tarrant County District Attorney Office and Tarrant County
   Sheriff Department in this case, pursuant to FRCP 21.
       B.      Order to remove Mr. Ogle as counsel represented in this case.

Respectfully submitted,

                                           ____________/s/ Conghua Yan__________________
             [Conghua Yan] [2140 E Southlake Blvd, Suite L-439] [Southlake, Texas 76092] [214-228-1886]
                                                                                       [arnold200@gmail.com]
